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		OSCN Found Document:IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
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				IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2021 OK 49Case Number: SCBD-6972Decided: 10/04/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 49, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2019



ORDER STRIKING NAMES



The Board of Governors of the Oklahoma Bar Association filed an application for an Order Striking Names of attorneys from the Oklahoma Bar Association's membership rolls and from the practice of law in the State of Oklahoma for failure to comply with the Rules for Mandatory Continuing Legal Education, 5 O.S. 2001, ch. 1, app. 1-B, for the year 2019.

Pursuant to Rule 6(d) of the Rules for Mandatory Continuing Legal Education, the Oklahoma Bar Association's members named on Exhibit A, attached hereto, were suspended from membership in the Association and the practice of law in the State of Oklahoma by Order of this Court on September 14, 2020, and thereafter by Corrected Order dated September 17, 2020, for noncompliance with Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education for the year 2019. Based on its application, this Court finds that the Board of Governors determined at their May 21, 2021 meeting that none of the Oklahoma Bar Association's members named on Exhibit A, attached hereto, have applied for reinstatement within one year of the suspension order, as of the filing of its application. Further the Board of Governors declared that the members named on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and their names should therefore be stricken from its membership rolls and the Roll of Attorneys on September 17, 2021. This Court finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.

It is therefore ordered that the attorneys named on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys on September 17, 2021, for failure to comply with the Rules for Mandatory Continuing Legal Education for the year 2019.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 4th DAY OF OCTOBER, 2021.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


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EXHIBIT A
(MCLE - STRIKE)

Lisa Patel, OBA No. 11325
4639 S. Quaker Ave.
Tulsa, OK 74105-4721

Chad Robert Reineke, 20316
P.O. Box 14733
Oklahoma City, OK 73113-0733

Robert Carlyle Scott, OBA No. 22709
1120 NW 51st Street
Oklahoma City, OK 73118

Brandon Duane Watkins, OBA 18868
713 N.E. 4th Street
Perkins, OK 74059

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